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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                  :

                  v.                      :        CRIMINAL NO. 21-367

BILL OMAR CARRASQUILLO,                   :
JESSE GONZALES, and
MICHAEL BARONE

                          UNITED STATES' MOTION
                    TO DECLARE CASE COMPLEX UNDER
                      THE SPEEDY TRIAL ACT, 18 U.S.C.
              §§ 3161(h)(7)(B)(i) AND 18 U.S.C. ' 3161(h)(7)(B)(ii)

               The United States of America, by its attorneys, Jennifer Arbittier

Williams, Acting United States Attorney for the Eastern District of Pennsylvania, and

Christopher J. Mannion and Matthew T. Newcomer, Assistant United States

Attorneys, and Jeff Pearlman, Trial Attorney, moves to have this matter declared

complex and to exclude from Speedy Trial Act calculations the period between the

filing of this motion and the trial, and in support thereof, states:

       1.      On September 2, 2021, a grand jury sitting in this district charged

defendants Bill Omar Carrasquillo, Jesse Gonzales, and Michael Barone, with a

variety of offenses arising out of their operation of a video content delivery service.

The indictment charges that the defendants fraudulently obtained video content from

five cable companies and, without obtaining permission, copied and redistributed the

content to their own customers.

       2.      The Indictment contains a total of 62 charged counts, which include

alleged violations of the Copyright Act, 17 U.S.C. § 506, et seq., the Digital

Millennium Copyright Act, 17 U.S.C. § 1201(a)(1)(A), as well as wire fraud, in

violation of 18 U.S.C. § 1343, access device fraud, in violation of 18 U.S.C. § 1029,
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false statements to a bank, in violation of 18 U.S.C. § 1014, money laundering, in

violation of 18 U.S.C. § 1957, false statements to law enforcement, in violation of 18

U.S.C. § 1001, removal of property to prevent seizure, in violation of 18 U.S.C.

§ 2232(a), and tax evasion, in violation of 26 U.S.C. § 7201.

       3.      The conduct alleged in the Indictment took place during the four-year

period between early 2016 and early 2020, in a variety of domestic locations

including Pennsylvania, New Jersey, New York, California, as well as in other

countries. The government expects to produce at trial witnesses and evidence from

most or all of those locations.

       4.      The government’s investigation began in late 2018. During the

investigation, the government collected a large volume of information from a variety

of sources. For example, in November 2019, the government executed search

warrants on approximately nine residences in Pennsylvania, New Jersey, and

California, which resulted in the seizure of physical records, and executed warrants

on numerous electronic devices. Throughout the investigation, the government also

executed search warrants on email and social media accounts, and issued scores of

grand jury subpoenas. Finally, the government collected servers from a company in

Canada, which housed the allegedly illegal recordings pertinent to some of the

charges.

       5.      In total, the government estimates that its discovery amounts to more

than 100 terabytes of information. The government expects to begin producing this

information within days, but expects that to complete production and review will take

additional time. Just the process of compiling and cataloging these various materials
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for production to defense counsel will be time consuming. On top of this, the

government anticipates that it will take substantial time for the defense to review and

assimilate the discovery once it has been produced.

       6.       The above-captioned case is so unusual and so complex due to the

nature of the prosecution, the number of defendants, the number of witnesses and

the amount of physical evidence that it is unreasonable to expect adequate

preparation for pretrial proceedings or the trial itself within the time limits

established by the Speedy Trial Act.

       7.       A Speedy Trial Act continuance is necessary to allow the government to

produce and the defendants to review the discovery, make any necessary motions,

and to permit the parties adequate preparation for any possible further pretrial

proceedings and the trial.

       8.       Due to the nature of the prosecution and the matters stated above, the

case is so unusual and complex that it is unreasonable to expect adequate preparation

for possible further pretrial proceedings and the trial itself within the time limits

established by the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(B)(ii).

       9.       The failure to grant a continuance would likely result in a miscarriage of

justice. 18 U.S.C. § 3161(h)(7)(B)(i).

       10.      This continuance is not being sought because of general congestion of

the Court's calendar or lack of diligent preparation or failure to obtain available

witnesses on the part of the attorney for the government.

       11.      Counsel for the government has conferred with counsel for the

defendants prior to filing this motion. Counsel for the defendants do not oppose this
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Speedy Trial continuance motion, provided that such continuance is sixty days in

length.

       WHEREFORE, for the reasons stated above, the United States of America

respectfully moves the Court to designate the case complex for Speedy Trial Act

purposes, schedule a trial date to accommodate the complexity of this case, and

exclude the time between the filing of this motion and the trial date under the Speedy

Trial Act.



                                         Respectfully submitted,

                                         JENNIFER A. WILLIAMS
                                         Acting United States Attorney



                                         /s/ Christopher J. Mannion
                                         CHRISTOPHER J. MANNION
                                         MATTHEW T. NEWCOMER
                                         Assistant United States Attorneys

                                         JEFFREY PEARLMAN
                                         Trial Attorney
                                         Computer Crimes and Intellectual Property
                                         Section

DATED: October 13, 2021




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                           CERTIFICATE OF SERVICE

             I hereby certify that the Government’s Motion to Declare Case Complex

Under the Speedy Trial Act Pursuant to 18 U.S.C. § 3161(h)(7)(B)(i) and 18 U.S.C. '

3161(h)(7)(B)(ii) was filed electronically, is available for viewing and downloading

from the Electronic Case Filing system, and was served by email upon: (1) Donte

Mills, Esq.; (2) Hope Lefeber, Esq.; and (3) Kathryn Roberts, Esq.




                                         s/ Christopher J. Mannion
                                         CHRISTOPHER J. MANNION
                                         ASSISTANT UNITED STATES ATTORNEY

DATED: October 13, 2021
